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 1   Lisa D. Dubowski, Esq.; SBN: 237003
     lisa.dubowski@michaellegalgroup.com
 2   Christina Rymsza, Esq.; SBN: 233631
     christina.rymsza@michaellegalgroup.com
 3   Stephanie Ho, Esq.; SBN: 306109
     stephanie.ho@michaellegalgroup.com
 4   MICHAEL & ASSOCIATES, PC
     555 St. Charles Drive, Suite 204
 5   Thousand Oaks, California 91360
     Telephone: (805) 379-8505
 6   Facsimile: (805) 379-8525
 7   Attorneys for Plaintiff
     Lina M. Michael McGurk
 8
                       UNITED STATES DISTRICT COURT
 9
                      CENTRAL DISTRICT OF CALIFORNIA
10
                                    )
11   LINA M. MICHAEL MCGURK, an     ) Case No.:
12
     individual;                    )
                                    ) COMPLAINT FOR:
13                 Plaintiff,       )
14                                  ) 1. NEGLIGENT VIOLATIONS OF THE
           vs.                            FAIR CREDIT REPORTING ACT; [15
                                    )     U.S.C. §§1681, et seq.]
15
                                    ) 2. WILLFUL VIOLATIONS OF THE
16   SANTANDER CONSUMER USA,        )     FAIR CREDIT REPORTING ACT; [15
     INC. dba CHRYSLER CAPITAL; and )     U.S.C. §§1681, et seq.]
17   Does 1 to 10 inclusive,           3. DEFAMATION;
                                    )
18                                  ) 4. NEGLIGENCE;
                 Defendants.           5. ROSENTHAL FAIR DEBT
                                    )     COLLECTION PRACTICES ACT;
19
                                    )     [California Civ. Code §§1788, et seq.]
20                                  ) 6. VIOLATIONS OF THE CALIFORNIA
                                    )     BUSINESS AND PROFESSIONS
21                                        CODE [California Civ. Code §§17200,
                                    )
22                                        et seq.;]
                                    )
                                       7. VIOLATIONS OF THE TRUTH IN
23
                                    )     LENDING ACT; [15 U.S.C. §1601, et
                                    )     seq.]
24                                  )             -AND-
25                                  ) DEMAND FOR JURY TRIAL
                                    )
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                               COMPLAINT FOR DAMAGES
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 1         Plaintiff, LINA M. MICHAEL MCGURK, an individual (“PLAINTIFF”), brings this
 2   complaint against Defendant, SANTANDER CONSUMER USA, INC. dba CHRYSLER
 3   CAPITAL (“CHRYSLER CAPITAL”); and Does 1 to 10; and hereby alleges as follows:
 4                              NATURE OF THE CASE
 5         1. Plaintiff brings this action seeking damages and injunctive relief against
 6   Defendant for violations of the Fair Credit Reporting Act (“FCRA”), Defamation,
 7   Negligence, the California Rosenthal Fair Debt Collection Practices Act
 8   (“RFDCPA”), California Business and Professions Code, and Truth in Lending
 9   Act (“TILA”), arising out of Chrysler Capital’s continuous reporting of false
10   information to Transunion and other credit reporting agencies.
11                              JURISDICTION AND VENUE
12         2. This Court has jurisdiction to hear this case pursuant to 28 U.S.C. §1331
13   because this action arises out of Defendant’s violations of (i) the Fair Credit
14   Reporting Act, 15 U.S.C. §1681 et seq., and the (ii) Truth In Lending Act,
15   15 U.S.C. §1640 et seq., both of which are federal statutes.
16         3. This Court has personal jurisdiction over the Defendant since the actions
17   complained of occurred in this district and the Defendant conducts business in
18   California.
19         4. Venue is proper pursuant to 28 U.S.C. §1391(b) because (i) Plaintiff
20   resides in the County of Ventura, State of California, which is within this judicial
21   district; (ii) the conduct complained of herein occurred within this judicial district;
22   and (iii) Defendant conducts business within this judicial district.
23                                      PARTIES
24         5. Plaintiff is, and at all times mentioned herein, was an individual citizen
25   and resident of the State of California, County of Ventura.
26         6. Plaintiff is a natural person residing in Thousand Oaks, California and is a
27   “consumer” as that term is defined by the FCRA, 15 U.S.C. §1681a(c).
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                                  COMPLAINT FOR DAMAGES
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 1         7. Plaintiff is an “obligor” as that term is defined in the TILA, 15 U.S.C.
 2   §1666.
 3         8. Plaintiff is a “debtor” and a “person” as defined by Cal. Civ. Code
 4   §1788.2(h) and 1788.2(g) of the RFDCPA.
 5         9. Plaintiff is informed and believes, and thereon alleges, that Defendant
 6   Santander Consumer USA, Inc. dba Chrysler Capital is a company whose State of
 7   Incorporation is Illinois and whose principal place of business is in Dallas, Texas.
 8         10. Defendant Chrysler Capital is a corporate entity who, in the regular
 9   course of business, furnishes information to one or more consumer credit
10   reporting agencies about its transactions or experiences with consumers and
11   therefore constitutes a “furnisher of information” as that term is defined by the
12   FCRA, 15 U.S.C. §1681s-2.
13         11. Chrysler Capital is a “creditor” as that term is defined by the TILA, 15
14   U.S.C. §1602g.
15         12. Chrysler Capital is a corporate entity who, in the regular course of
16   business, engages in the business of collecting its own debts and reporting such
17   debts to the credit bureaus and therefore is a “debt collector” as that term is
18   defined by Cal. Civ. Code §1788.2 (c) of the RFDCPA.
19         13. The true names and capacities, whether individual, corporate,
20   association, or otherwise of Defendants named herein as Does 1 through 10 are
21   unknown to Plaintiff but can be ascertained through discovery. Plaintiff will
22   amend the complaint to include the true names of the appropriate Doe defendants
23   after their identities have been ascertained.
24                             GENERAL ALLEGATIONS
25         14. On or about August 2013, Plaintiff entered into a thirty-nine month
26   finance agreement with Chrysler Capital, for the lease of a 2014 Jeep Grand
27   Cherokee with the VIN number: 1C4RJECG7EC221773.
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 1           15. On or about June 2016, at the end of thirty-six months, Plaintiff
 2   submitted her monthly payment and returned her vehicle to Shaver Auto,
 3   Thousand Oaks, the leasing dealership, four months short of the lease termination
 4   date.
 5           16. On or about July 2016, Plaintiff submitted her final payment to Chrysler
 6   Capital pursuant to the terms of the lease agreement and the End of Term Final
 7   Bill, and her Chrysler Capital account ending in 51000 was closed with a zero due
 8   balance. See “Exhibit A”.
 9           17. Plaintiff is a member of a credit monitoring service offered through
10   Experian. This service provides alerts to consumers whenever there is new activity
11   that has been noted on any of the consumer’s credit reports.
12           18. On August 17, 2016, an alert was placed on Plaintiff’s account notifying
13   her that Chrysler Capital had flagged her account as being 30 days past due. The
14   notification indicated that this information had been reported to Transunion, a
15   credit reporting agency, and that her FICO credit score had been negatively
16   affected by this information. See “Exhibit B”.
17           19. When Plaintiff saw this alert, she became extremely distressed because
18   she had worked very hard over the past ten years to earn a high credit rating after
19   the bankruptcy she had filed on or about December 2006.
20           20. Plaintiff immediately contacted Chrysler Capital and spoke with a
21   representative who identified herself as “Shea.” Plaintiff told Shea that she was
22   disputing the fact that there was ever any past due balance on the account, and that
23   there could not be a past due balance since the balance owing was zero.
24           21. Chrysler Capital representative Shea informed Plaintiff that she did not
25   understand why Plaintiff’s account was being reported as past due, as Chrysler
26   Capital’s own records indicated that the account had a zero balance.
27           22. Plaintiff then contacted Transunion, and was informed that Chrysler
28   Capital, had in fact, reported Plaintiff’s account as being 30 days past due.

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                                  COMPLAINT FOR DAMAGES
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 1   Plaintiff informed the representative that she was disputing the past due reporting
 2   by Chrysler Capital. Plaintiff further informed Transunion that the information
 3   being reported by Chrysler Capital was inaccurate and that the account had a zero
 4   balance.
 5          23. The Transunion representative informed Plaintiff that although Chrysler
 6   Capital reported the balance as being past due, the account balance showed a zero
 7   balance owing.
 8          24. Despite Plaintiff’s requests to both Chrysler Capital and Transunion to
 9   remove the disputed item from her credit report, Chrysler Capital failed to properly
10   investigate Plaintiff’s dispute and failed to remove the false information from
11   Plaintiff’s credit report.
12          25. On or about November 2016, Plaintiff received another notification that
13   Chrysler Capital had once again flagged her account as being past due. This time
14   Chrysler Capital reported that Plaintiff’s account was 90 days past due. The
15   notification indicated that this information had been reported to Transunion and
16   that her FICO credit score had once again been negatively affected by this
17   information. See “Exhibit C”.
18          26. Chrysler Capital acted in a false, deceptive, misleading, and unfair
19   manner when it communicated to the credit reporting agency inaccurate
20   information which it knew or had reason to know would defame Plaintiff.
21          27. Chrysler Capital acted in a false, deceptive, misleading, and unfair
22   manner by falsely representing the amount, character, or legal status of the debt.
23          28. Chrysler Capital acted in a false, deceptive, misleading, and unfair
24   manner by communicating or threatening to communicate to any person credit
25   information which it knew or should have known to have been false, including the
26   failure to communicate that a debt was being disputed.
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                                  COMPLAINT FOR DAMAGES
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 1         29. At all times relevant hereto, Chrysler Capital was acting by and through
 2   its agents, servants and employees, who were acting within the scope and course of
 3   their employment and under the direct supervision and control of Defendant.
 4         30. At all times relevant hereto, the conduct of Chrysler Capital and its
 5   agents, servants, and employees was malicious, intentional, willful, reckless,
 6   negligent, and in wanton disregard for the federal and state law rights of Plaintiff.
 7         31. As a result of Defendant’s actions, Plaintiff suffered emotional and
 8   mental distress, anxiety, embarrassment, loss of credit opportunities and
 9   commercial viability, pecuniary loss, harm to her reputation, a substantial
10   decrease in her FICO credit score, credit rating, and perceived credit worthiness.
11                                         COUNT I
12    NEGLIGENT VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
13                                 15 U.S.C. §§1681, et seq.
14                                   (As to all Defendants)
15          32. Plaintiff incorporates by reference paragraphs 1 through 31 of this
16   Complaint as though fully stated herein.
17          33. Defendant owed a duty of care to Plaintiff to investigate Plaintiff’s
18   dispute regarding her Chrysler Capital account ending in 51000 and to report
19   accurate information on Plaintiff’s credit report.
20          34. In September 2016, Plaintiff contacted Defendant extremely distressed
21   when she discovered that Defendant had flagged her account as being thirty days
22   past due, even though the account had a zero balance. A representative by the
23   name of Shea, acknowledged the error and told Plaintiff that Defendant would
24   correct the inaccurate information that was being transmitted to the credit bureaus.
25         35. Defendant breached its duty of care to Plaintiff when it failed to
26   investigate the dispute in accordance with its duties under the FCRA, failed to
27   correct the inaccurate information on her credit report and continued to publish
28   false and inaccurate information.

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 1         36. Defendant’s actions caused Plaintiff to suffer damages including
 2   emotional and mental distress, anxiety, embarrassment, loss of credit opportunities
 3   and commercial viability, pecuniary loss, harm to her reputation, a substantial
 4   decrease in her FICO credit score, credit rating, perceived credit worthiness, and
 5   other compensatory and consequential damages.
 6         37. Defendant’s actions were willful and wanton, as evidenced by
 7   Defendant’s additional false reporting of Plaintiff’s Chrysler Capital account in
 8   November of 2016, entitling Plaintiff to seek punitive damages as a result. See
 9   “Exhibit C”.
10                                         COUNT II
11          KNOWING AND WILLFUL VIOLATIONS OF THE FAIR CREDIT
12                                   REPORTING ACT
13                                 15 U.S.C. §1681, et seq.
14                                  (As to all Defendants)
15          38. Plaintiff repeats and re-alleges and incorporates by reference paragraphs
16   1 through 37 above of the Complaint as if stated fully herein.
17         39. Defendant failed to investigate Plaintiff’s dispute of the balance owed in
18   accordance with its duties as a furnisher of information under the FCRA.
19   Defendant’s initial and continuous false reporting of Plaintiff’s balance, despite
20   knowledge of the falsity of that information constituted willful violations of the
21   Fair Credit Reporting Act in accordance with 15 U.S.C.§1681, et seq.
22         40. Defendant’s acts as described above were done with intentional, willful,
23   reckless, wanton and negligent disregard for Plaintiff’s rights under the law.
24         41. As a result of Defendant’s knowing and willful violations of 15 U.S.C.
25   §1681 et seq., Plaintiff is entitled to statutory damages, punitive damages, actual
26   damages and attorneys’ fees and costs.
27         42. Plaintiff is also entitled to and seeks injunctive relief prohibiting such
28   harassing conduct in the future.

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 1                                        COUNT III
 2                          DEFAMATION OF CHARACTER
 3                                   (As to all Defendants)
 4         43. Plaintiff repeats and re-alleges and incorporates by reference paragraphs
 5   1 through 42 above of the Complaint as if stated fully herein.
 6         44. Chrysler Capital, with knowledge of the falsity of the statements, has
 7   published and continues to publish statements to others, including consumer credit
 8   reporting agencies such as Experian and Transunion and other unknown
 9   individuals and entities who have accessed Plaintiff’s credit report, that Plaintiff
10   has a past due account with Chrysler Capital. Chrysler Capital’s statements were
11   false and were made with the conscious disregard for Plaintiff’s rights.
12         45. Chrysler Capital’s publication of false statements regarding Plaintiff’s
13   creditworthiness and Plaintiff’s alleged past due Chrysler account amounts to
14   defamation and defamation per se of the Plaintiff, entitling Plaintiff to
15   compensatory, special, consequential, and punitive damages.
16                                      COUNT IV
17                                   NEGLIGENCE
18                                   (As to all Defendants)
19         46. Plaintiff repeats and re-alleges and incorporates by reference paragraphs
20   1 through 45 above of the Complaint as if stated fully herein.
21         47. Chrysler Capital owed a duty to Plaintiff to investigate Plaintiff’s dispute
22   and to report accurately regarding Plaintiff’s credit history.
23         48. Chrysler Capital’s false reporting to Transunion regarding the alleged
24   balance on the Chrysler account was negligent. In falsely reporting the balance as
25   “30 days past due” and “90 days past due” to Transunion and other consumer
26   credit reporting agencies, Chrysler Capital breached its duty to Plaintiff to
27   investigate Plaintiff’s dispute and to report accurately regarding Plaintiff’s credit
28   history. See Exhibits “B” and “C”.

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 1          49. Chrysler Capital’s actions were done with a conscious disregard of
 2   Plaintiff’s rights.
 3          50. Chrysler Capital’s failure to investigate Plaintiff’s dispute and its false
 4   reporting to Transunion and Experian regarding the account has caused and
 5   continues to cause damage to Plaintiff, including emotional and mental distress,
 6   anxiety, embarrassment, loss of credit opportunities and commercial viability,
 7   pecuniary loss, harm to her reputation, a substantial decrease in her FICO credit
 8   score, credit rating, perceived credit worthiness, and other compensatory and
 9   consequential damages.
10          51. Chrysler Capital’s failure to investigate Plaintiff’ s dispute and false
11   reporting of the account was willful and wanton, as evidenced by their additional
12   false reporting of Plaintiff’s Chrysler Capital account in November 2016, entitling
13   Plaintiff to seek punitive damages.
14                                         COUNT V
15            VIOLATIONS OF THE CALIFORNIA ROSENTHAL FAIR DEBT
16                           COLLECTION PRACTICES ACT
17                                CAL. CIV. CODE §§1788, et seq.
18                                   (As to all Defendants)
19          52. Plaintiff repeats and re-alleges and incorporates by reference
20   paragraphs 1 through 51 above of the Complaint as if stated fully herein.
21          53. The above referenced Chrysler account is a “consumer debt” as that
22   term is defined by Cal. Civ. Code §§1788.2(h) and 1788.2(g) of the RFDCPA.
23          54. The above referenced credit report is a “consumer credit report” as
24   defined by Cal. Civ. Code §1788.2(j) of the RFDCPA.
25          55. Chrysler Capital violated Cal. Civ. Code §1788.20(B) of the RFDCPA
26   by communicating to the credit reporting agency inaccurate information which it
27   knew or should have known was false and would bear upon Plaintiff’s credit-
28   worthiness.

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                                  COMPLAINT FOR DAMAGES
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 1           56. Chrysler Capital’s actions were done with an intentional, willful,
 2    reckless, wanton and negligent disregard of Plaintiff’s rights under the law.
 3           57. As a result of the violations of the RFDCPA, Chrysler Capital is liable
 4    to Plaintiff for statutory damages, actual damages, and attorneys’ fees and costs.
 5                                          COUNT VI
 6     VIOLATIONS OF CALIFORNIA BUSINESS AND PROFESSIONS CODE
 7                             California Civil Code §§17200, et seq.
 8                                     (As to all Defendants)
 9           58. Plaintiff repeats and re-alleges and incorporates by reference
10    paragraphs 1 through 57 above of the Complaint as if stated fully herein.
11          59. California Business and Professions Code §§17200, et seq. prohibits
12    unfair, unlawful, and fraudulent business practices.
13          60. Defendant’s acts and practices as alleged herein are unfair because the
14    utility of the conduct is outweighed by the gravity of the harm it causes. In
15    addition, Defendants’ conduct is unfair because it offends established public policy
16    and is immoral, oppressive, unscrupulous, and substantially injurious to
17    consumers. Further, as detailed above and below, Defendant’s conduct violates
18    consumer laws, specifically the Fair Credit Reporting Act, the California
19    Rosenthal Fair Debt Collections Practices Act, and the Truth in Lending Act; and
20    violates the spirit of these statutes, and otherwise significantly threatens or harms
21    consumers. Defendant’s conduct has caused substantial injury, which was not
22    reasonably avoidable by Plaintiff, and is not outweighed by countervailing benefits
23    to consumers.
24          61. Defendant’s actions constitute unlawful practices because they engaged
25    in the following acts:
26           a.    Violations of 15 U.S.C.§§1681, et seq. (Fair Credit Reporting Act);
27           b.    Violations of California Civ. Code §§1788, et seq. (Rosenthal Fair
28    Debt Collections Practices Act); and

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 1           c.    Violations of 15 U.S.C. §1666a (Truth In Lending Act);
 2           62. Defendant is engaging, has engaged, and there is a substantial
 3    likelihood that Defendant will continue to engage in these unlawful and unfair
 4    practices unless enjoined by this Court.       As such, pursuant to Business and
 5    Professions Code §17203, Defendant should be enjoined from these unlawful and
 6    unfair business acts.
 7                                        COUNT VII
 8                 VIOLATIONS OF THE TRUTH IN LENDING ACT
 9                                 15 U.S.C. §§ 1601, et seq.
10                                   (As to all Defendants)
11          63. Plaintiff incorporates by reference paragraphs 1 through 62 of this
12    Complaint as though fully stated herein.
13          64. Chrysler Capital’s initial and continuing false reporting to Experian of
14    Plaintiff’s alleged Chrysler account balance is a violation of Chrysler Capital’s
15    duties as a creditor pursuant to the TILA, 15 U.S.C. §1666a.
16          65. Chrysler Capital’s violations of the TILA entitle Plaintiff to seek
17    statutory damages, actual damages, and attorneys’ fees, pursuant to
18    15 U.S.C. §1640.
19
20                                 PRAYER FOR RELIEF
21          NOW, THEREFORE, Plaintiff prays that the Court enters judgment in her
22    favor and against Defendant and issues orders, as follows:
23          1. An award of actual and statutory damages for violations of the Rosenthal
24          Act in the amount of $1,000 pursuant to Cal. Civ. Code §§ 1788.17,
25          1788.30;
26          2. An order for preliminary and permanent injunctive relief prohibiting
27          Defendant from continuing to violate the FCRA, the California Rosenthal
28          Fair Debt Collection Practices Act, and California Business and

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                                  COMPLAINT FOR DAMAGES
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 1          Professions Code;
 2          3. An award of statutory, compensatory, and consequential damages
 3              against each named Defendant;
 4          4. An award of punitive damages against each named Defendant;
 5          5. An award of costs of litigation;
 6          6. An award of reasonable attorney fees; and
 7          7. Any other relief the Court deems just and proper.
 8                                     TRIAL BY JURY
 9          Pursuant to the Seventh Amendment to the Constitution of the United States
10    of America, Plaintiff is entitled to, and demands a jury trial.
11
12    DATE: February 10, 2017                        MICHAEL & ASSOCIATES, PC
13
                                                     By: /s/ Lisa Dubowski____
14
                                                         LISA D. DUBOWSKI,
15                                                       Attorneys for Plaintiff
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